  Case 1:20-cv-04834-KAM-RML Document 34 Filed 02/04/21 Page 1 of 2 PageID #: 841




                                             STATE OF NEW YORK
                                       OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                                  DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                      LITIGATION BUREAU

                                        Writer’s Direct Dial: (212) 416-8661
                                                   February 4, 2021
    Via ECF
    The Honorable Judge Kiyo A. Matsumoto
    United States Courthouse
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

            Re: Agudath Israel of America, et al. v. Cuomo, No. 20-cv-04834 (E.D.N.Y.)(KAM)(RML)
    Dear Judge Matsumoto:
            This Office represents Governor Andrew M. Cuomo, Defendant in the above-referenced
    matter. This letter concerns (1) the Court’s January 26, 2021 Order, which directs the parties to
    submit witness lists, exhibits, and briefs in anticipation of a preliminary injunction hearing on
    Executive Order 202.68’s 25% and 33% capacity limits on houses of worship, currently scheduled
    for February 8, 2021; and (2) the Court’s February 2, 2021 Order, which found Defendant’s letter to
    be “ambiguous as to the terms of defendant’s consent to a preliminary injunction or permanent
    injunction.”
            In light of the rulings in this case by the U.S. Supreme Court and the Second Circuit,
    specifically, the finding that “both the fixed capacity and the percentage capacity limits on houses of
    worship” in the red and orange zones “are subject to strict scrutiny,” Agudath Israel of Am. v. Cuomo, 983
    F.3d 620, 632 (2d Cir. 2020), Defendant consents to the issuance of a preliminary injunction under
    the following specific terms:

                  The Preliminary Injunction shall apply to Defendant and any New York State officer,
                   agent, servant, or employee who is responsible for enforcing Executive Order (“EO”)
                   202.68 (collectively, “Enjoined Parties”);

                  The Preliminary Injunction shall enjoin the Enjoined Parties from enforcing the 25%
                   capacity limits based on maximum indoor occupancy against any house of worship in New
                   York State located in an area designated as a red zone under EO 202.68;

                  The Preliminary Injunction shall enjoin the Enjoined Parties from enforcing the 33%
                   capacity limits based on maximum indoor occupancy against any house of worship in New
                   York State located in an area designated as an orange zone under EO 202.68;

                  The Preliminary Injunction shall convert to a Permanent Injunction after 120 days from
                   the date of the Preliminary Injunction Order the Court issues in this case unless EO 202.68
                   is revised, within that 120-day period, so to remove houses of worship and the restrictions

                       28 LIBERTY STREET, NEW YORK, NY 10005 ● PHONE (212) 416-8610 ● WWW.AG.NY.GOV
Case 1:20-cv-04834-KAM-RML Document 34 Filed 02/04/21 Page 2 of 2 PageID #: 842
 Hon. Kiyo A. Matsumoto
 February 4, 2021
 Page 2 of 2

            set forth therein. In that case, the Preliminary Injunction will expire, by its own terms, on
            the date of such revision.

           Except as set forth in the above-described Preliminary Injunction and Permanent
            Injunction, the Enjoined Parties shall not be limited in their ability to issue subsequent
            Executive Orders, regulations, guidelines, rules, or any other directives concerning the
            COVID-19 emergency, houses of worship, or any other matters.

         In view of Defendant’s detailed specification of his consent to the scope of the Preliminary
 Injunction, Defendant respectfully submits that an evidentiary hearing is unnecessary and requests
 that the Court reconsider its decision in that regard.

         Plaintiffs and Defendant are presently negotiating the terms of a proposed Joint Preliminary
 Injunction Order, including specific findings justifying such an injunction, in accordance with the
 Court’s February 2, 2021 Order. To the extent that Plaintiffs and Defendant may disagree over the
 precise language of any term of an injunction, Defendant respectfully submits that such
 disagreement would be a legal issue that could be resolved through specific briefing and argument of
 counsel, not an evidentiary hearing. Defendant suggests that the Court permit Plaintiffs and
 Defendant to set forth in the Joint Preliminary Injunction Order any areas of disagreement that may
 necessitate further legal argument. Counsel for Defendant is available at the Court’s convenience if it
 determines that a conference may be helpful on any of the foregoing.

        Thank you for Your Honor’s consideration of this matter.

                                                Respectfully submitted,
                                                ______/S/__________
                                                Todd A. Spiegelman
                                                Assistant Attorney General
                                                Todd.Spiegelman@ag.ny.gov
 cc: All Counsel (via ECF)
